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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 RAFAEL BUENO, DAVID RIVERA, VIERI                             SECOND
 MOLINA, DESTINY DOMINGUEZ, AMADA                              AMENDED COMPLAINT
 REYNOSO, VANESA WILLIAMS, YASMIN
 NUNEZ, NANCY SANTOS, EVELYN JACO, JANE                        Docket No.:
 DOE I-X, and JOHN DOE I-X,                                    22-cv-02216 (PAE)(KHP)

                          Plaintiffs,
                                                               Jury Trial Demanded
            -against-

 ALLCITY MEDICAL, P.C., ALLA B. BUZINOVER,
 M.D., HISPANIC MEDICAL HEALTH, P.C., K.
 ZARK     MEDICAL,    P.C., KONSTANTINOS
 ZARKADAS, M.D. and YAN FELDMAN,

                           Defendants.



       Plaintiffs RAFAEL BUENO, DAVID RIVERA, VIERI MOLINA, DESTINY

DOMINGUEZ, AMADA REYNOSO, VANESA WILLIAMS, YASMIN NUNEZ, NANCY

SANTOS, and EVELYN JACO, (collectively “Plaintiffs”) by and through their attorneys,

BORRELLI & ASSOCIATES, P.L.L.C., as and for their Second Amended Complaint against

ALLCITY MEDICAL, P.C. (“Allcity Medical”), ALLA B. BUZINOVER, M.D., individually,

HISPANIC MEDICAL HEALTH, P.C. (“Hispanic Medical”), K. ZARK MEDICAL, P.C. (“Zark

Medical”), KONSTANTINOS ZARKADAS, M.D., individually, and YAN FELDMAN,

individually, (collectively “Defendants”) allege upon knowledge as to themselves and their own

actions and upon information and belief as to all other matters as follows:

                                    NATURE OF THE CASE

       1.       This is a civil action for damages and equitable relief based upon violations that

Defendants committed of Plaintiffs’ rights guaranteed to them by: (i) the overtime provisions of
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the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207(a); (ii) the overtime provisions of the

New York Labor Law (“NYLL”), NYLL § 160, N.Y. Comp. Codes R. & Regs. (“NYCRR”) tit.

12, § 146-1.4; (iii) the NYLL’s requirement that employers pay their manual worker employees

not less frequently than on a weekly basis, NYLL § 191(1)(a); (iv) the NYLL’s requirement that

employers provide on each payday wage statements to their employees containing specific

categories of accurate information, NYLL § 195(3); (v) the NYLL’s requirement that employers

provide their employees with, upon hiring, and in writing, specific categories of accurate

information, NYLL § 195(1); and (vi) any other claim(s) that can be inferred from the facts set

forth herein.

       2.       Plaintiffs worked for Defendants - - three different New York professional

corporations that operate as a single enterprise to run medical offices in New York City and Long

Island, from at least as far back as October 2018 to December 2021. As described below, from

October 2018 until the end of their employment in December 2021 (“the Relevant Period”),

Defendants willfully failed to pay Plaintiffs the wages lawfully due to them under the FLSA and

the NYLL. Specifically, during the Relevant Period, Defendants required Plaintiff to work, and

Plaintiff did in fact work, an average of forty hours per week or on occasion in excess of forty

hours per week each week, yet Defendants consistently failed to pay Plaintiffs on a timely basis.

       3.       Additionally, Defendants violated the NYLL by failing to provide Plaintiffs with

accurate wage statements on each payday.

                                 JURISDICTION AND VENUE

       4.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, as this action

arises under 29 U.S.C. § 201, et seq. The supplemental jurisdiction of the Court is invoked

pursuant to 28 U.S.C. § 1367 over all claims arising under New York law.



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        5.       Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2), as a

substantial part of the events or omissions giving rise to the claims for relief occurred within this

judicial district.

                                            PARTIES

        6.       At all times during the Relevant Period, Plaintiffs worked for Defendants in New

York and were “employee[s]” entitled to the protections of the FLSA, the NYLL, and the NYCRR.

        7.       At all relevant times herein, Allcity Medical was and is a New York professional

corporation with a principal place of business located at 2814 Clarendon Road, Brooklyn, New

York 11226.

        8.       At all relevant times herein, Defendants Alla B. Buzinover, M.D., Konstantinos

Zarkadas, M.D. and Yan Feldman were and are the owners of Allcity Medical.                    While

Konstantinos Zarkadas, M.D., was the onsite manager. In their respective capacities, Defendants

Alla B. Buzinover, M.D., Konstantinos Zarkadas, M.D., Yan Feldman personally managed and

oversaw the day-to-day operations of Allcity Medical and were ultimately, together, responsible

for all matters with respect to determining employees’ rates, methods of pay, and hours worked.

Furthermore, Defendants Alla B. Buzinover, M.D., Konstantinos Zarkadas, M.D. and Yan

Feldman had the power to hire and fire and approve all personnel decisions with respect to Allcity

Medical’s employees. Defendants Alla B. Buzinover, M.D., Konstantinos Zarkadas, M.D., and

Yan Feldman were responsible for paying Defendants’ employees their bi-weekly wages,

including Plaintiffs. They also were all responsible for maintaining employment records for all of

Allcity Medical’s employees, including Plaintiffs.




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       9.      At all relevant times herein, Zark Medical was and is a New York professional

corporation with a principal place of business located at 575 W. 161 Street, Suite 1, New York,

New York 10032.

       10.     At all relevant times herein, Defendant Konstantinos Zarkadas, M.D. was and is the

owner of Zark Medical. Konstantinos Zarkadas, M.D., was the onsite manager. In his respective

capacity, Defendant Konstantinos Zarkadas, M.D. personally managed and oversaw the day-to-

day operations of Zark Medical and was ultimately responsible for all matters with respect to

determining employees’ rates, methods of pay, and hours worked. Furthermore, Defendant

Konstantinos Zarkadas, M.D. had the power to hire and fire and approve all personnel decisions

with respect to Zark Medical’s employees.        Defendant Konstantinos Zarkadas, M.D. was

responsible for paying Defendants’ employees their bi-weekly wages, including Plaintiffs. They

also were all responsible for maintaining employment records for all of Zark Medical’s employees,

including Plaintiffs.

       11.     At all relevant times herein, Hispanic Medical was and is a New York professional

corporation with a principal place of business located at 5041 Broadway Avenue, New York, New

York 10034.

       12.     At all relevant times herein, Defendant Konstantinos Zarkadas, M.D. was and is the

owner of Hispanic Medical. Konstantinos Zarkadas, M.D., was the onsite manager. In his

respective capacity, Defendant Konstantinos Zarkadas, M.D. personally managed and oversaw the

day-to-day operations of Hispanic Medical and was ultimately responsible for all matters with

respect to determining employees’ rates, methods of pay, and hours worked. Furthermore,

Defendant Konstantinos Zarkadas, M.D. had the power to hire and fire and approve all personnel

decisions with respect to Hispanic Medical’s employees. Defendant Konstantinos Zarkadas, M.D.

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was responsible for paying Defendants’ employees their bi-weekly wages, including Plaintiffs.

They also were all responsible for maintaining employment records for all of Hispanic Medical’s

employees, including Plaintiffs.

       13.     At all relevant times herein, all Defendants were and are “employers” within the

meaning of the FLSA and the NYLL. Additionally, at all times relevant to the FLSA, Defendants

Allcity Medical, Zark Medical, and Hispanic Medical’s qualifying annual business exceeded and

exceeds $500,000.00, and Defendants Allcity Medical, Zark Medical, and Hispanic Medical were

and is engaged in interstate commerce within the meaning of the FLSA, as it employs two or more

employees and is a medical offices that services patients from out-of-state, obtains and uses

supplies in the course of its business that originate from outside of New York, such as medical

instruments and equipment, cleaning supplies, and accepts credit cards as a form of payment based

on cardholder agreements with out-of-state companies as well as cash that naturally moves across

state lines, the combination of which subjects Defendants Allcity Medical, Zark Medical, and

Hispanic Medical to the FLSA’s overtime requirements as an enterprise.

                                   BACKGROUND FACTS

       14.     Defendant Allcity Medical is a New York professional corporation that operates

medical offices at 2814 Clarendon Road, Brooklyn, New York 11226, 345 W. 145th Street, New

York, New York 10031, 575 W. 161 Street, Suite 1, New York, New York 10032, 5041 Broadway

Avenue, New York, New York 10034, 1 Walnut Road, Glen Cove, New York 11542.

       15.     Defendant Zark Medical is a New York professional corporation that operates

medical offices at 2814 Clarendon Road, Brooklyn, New York 11226, 345 W. 145th Street, New

York, New York 10031, 575 W. 161 Street, Suite 1, New York, New York 10032, 5041 Broadway

Avenue, New York, New York 10034, 1 Walnut Road, Glen Cove, New York 11542.

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       16.    Defendant Hispanic Medical is a New York professional corporation that operates

medical offices at 2814 Clarendon Road, Brooklyn, New York 11226, 345 W. 145th Street, New

York, New York 10031, 575 W. 161 Street, Suite 1, New York, New York 10032, 5041 Broadway

Avenue, New York, New York 10034, 1 Walnut Road, Glen Cove, New York 11542.

       17.    At all relevant times, Defendant Konstantinos Zarkadas, M.D., was the on-site

manager, who managed and operated the medical offices on a day-to-day basis on behalf of

Defendants.

       18.    At all relevant times, Defendants Alla B. Buzinover, M.D. and Yan Feldman, were

off-site managers, who had the power to hire and fire, determine employees’ rates, methods of

pay, and hours worked.

       19.    Plaintiffs Rafael Bueno and David Rivera are residents of Orange County and had

been employed by Defendants on a full-time basis from November 2019 to December 2021.

       20.    Plaintiffs Rafael Bueno and David Rivera primarily worked at Defendants’ New

York City based medical offices.

       21.    On October 17, 2019, Plaintiff Rafael Bueno signed a contract titled “Physician

Assistant Employment Agreement Between K. Zark Medical P.C./Hispanic Medical Health, P.C.

and AllCity Medical, P.C. and Rafael Bueno, P.A.” (“Bueno Agreement”).

       22.    Also, October 17, 2019, Plaintiff David Rivera signed a contract titled “Physician

Assistant Employment Agreement Between K. Zark Medical P.C./Hispanic Medical Health, P.C.

and AllCity Medical, P.C. and David Rivera, P.A.” (“Rivera Agreement”).

       23.    On October 17, 2019, Defendant Konstantinos Zarkadas, M.D. signed the Bueno

and Rivera Agreements on behalf of Defendants Zark Medical and Hispanic Medical.

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        24.    Although Allcity Medical was listed as a party to the Bueno and Rivera

Agreements, the signature line for Allcity Medical was not executed and no one held themselves

out as an owner or representative of Allcity Medical to Plaintiffs Rafael Bueno or David Rivera.

        25.    From November 2019 until the end of their employment in December 2021,

Defendants paid Plaintiffs Rafael Bueno and David Rivera late each pay period, except for their

final pay period for which they were not paid at all.

        26.    Upon Plaintiffs Rafael Bueno and David Rivera’s hire, Defendants failed to provide

Plaintiffs Rafael Bueno and David Rivera with wage notices that accurately listed, among other

things, their rate of pay and the employers’ official names and addresses.

        27.    On each occasion when Defendants paid Plaintiffs Rafael Bueno and David Rivera,

Defendants failed to provide Plaintiff with a wage statement that accurately listed, among other

things, the employers’ names and addresses, their rates of pay, and gross wages.

        28.    Throughout their employment, Plaintiffs Rafael Bueno and David Rivera received

paychecks listing their employer as Zark Medical, Hispanic Medical, or Allcity Medical.

        29.    Plaintiffs Rafael Bueno and David Rivera worked as Physician Assistants for the

benefit of Defendants.

        30.    Throughout their employment, Plaintiffs Rafael Bueno and David Rivera

complained several times to Defendants about not being paid on time or not being paid at all.

        31.    On December 21, 2021, Plaintiff Rafael Bueno met with Defendant Konstantinos

Zarkadas, M.D., to advise him that he could no longer work for Defendants if he is not going to be

paid.




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        32.      Also, on this occasion Plaintiff Rafael Bueno said that he would not be able to work

under the supervision of Defendant Konstantinos Zarkadas because he committed a crime of moral

turpitude, which will most likely result in him no longer being a New York State Licensed

Physician. 1

        33.      On or about January 13, 2022, Defendant Konstantinos Zarkadas threatened to sue

Plaintiffs Rafael Bueno and David Rivera if they practiced medicine for any other medical practice

other than Defendants Zark Medical, Hispanic Medical Health, or AllCity Medical.

        34.      Additionally, Defendant Yan Feldman, said to Plaintiffs Rafael Bueno and David

Rivera that because he built AllCity Medical and kept it running, Plaintiffs Rafael Bueno and

David Rivera had to accept pay cuts and continue working for Defendants or he would sue

Plaintiffs Rafael Bueno and David Rivera for having Defendant Konstantinos Zarkadas, M.D.

removed from the Health Maintenance Organization (“HMO”) capitation panels for inadequate

medical notes.

        35.      Upon information and belief, Defendant Konstantinos Zarkadas, M.D. was

removed from HMO capitation panels because of his criminal conduct.

        36.      Defendant Yan Feldman also told Plaintiff Rafael Bueno that he could not use his

remaining two weeks of vacation.

        37.      In October 2018, Plaintiff Yasmin Nunez was hired by Defendant Konstantinos

Zarkadas, M.D. to work as a Physician Assistant for Defendants.

        38.      Plaintiff Yasmin Nunez worked at Defendants’ Glen Cove medical office.



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 On November 12, 2021, Defendant Konstantinos Zarkadas, M.D. entered a guilty plea to violations of 18 U.S.C. §
1040 and § 1343 in a matter captioned United States of America v. Zarkadas, M.D., 21-cr-00363 (GRB).

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       39.      From October 2018 until the end of her employment in December 2021, Defendants

paid Plaintiff Yasmin Nunez late each pay period, except for her final pay period for which she

was not paid at all.

       40.      In November 2019, Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso,

and Vanesa Williams were hired by Defendant Konstantinos Zarkadas, M.D. to work for

Defendants as medical assistants and/or front desk clerks.

       41.      In November 2020, Plaintiff Nancy Santos was hired by Defendant Konstantinos

Zarkadas, M.D. to work for Defendants as a medical assistant and/or front desk clerk.

       42.      In January of 2021, Plaintiff Evelyn Jaco was hired by Defendant Konstantinos

Zarkadas, M.D. to work for Defendants as a medical assistant and/or front desk clerk.

       43.      Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams,

Nancy Santos, and Evelyn Jaco’s roles as medical assistants and/or front desk clerks required them

to spend more than twenty-five percent of their time performing manual work, such as drawing

blood, taking blood pressure, filing medical records, and organizing medical equipment and

supplies.

       44.      From the time of their hiring Plaintiffs Vieri Molina, Destiny Dominguez, Amada

Reynoso, Vanesa Williams, Nancy Santos, and Evelyn Jaco were paid late each pay period, except

for their final pay period for which they were not paid at all.

       45.      During the final two weeks of their employment Plaintiffs Vieri Molina, Destiny

Dominguez, Amada Reynoso, Vanesa Williams, Nancy Santos, and Evelyn Jaco worked ten hours

of overtime each week during the final pay period at the request of Defendants but were never

compensated.


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                  FIRST CLAIM FOR RELIEF AGAINST DEFENDANTS
               Failure to Pay All Wages on a Timely Basis in Violation of the NYLL

         46.   Plaintiffs, repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

         47.   NYLL § 191(1)(a) requires that employers pay their manual worker employees

their wages on at least as frequently as a weekly basis.

         48.   As described above, Defendants are employers within the meaning of the NYLL,

while Plaintiffs, are manual worker employees within the meaning of the NYLL.

         49.   As also described above, Defendants failed to pay Plaintiffs Vieri Molina, Destiny

Dominguez, Amada Reynoso, Vanesa Williams, Nancy Santos, and Evelyn Jaco, all wages earned

on at least as frequently as a weekly basis.

         50.   Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams,

Nancy Santos, and Evelyn Jaco, are entitled to any unpaid wages, liquidated damages associated

with any missed or late payment, interest, and attorneys’ fees for Defendants’ violations of the

NYLL’s requirement to pay all wages to manual workers on at least as frequently as a weekly

basis.

                SECOND CLAIM FOR RELIEF AGAINST DEFENDANTS
                       Unpaid Minimum Wages Under the FLSA

         51.    Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

         52.   29 U.S.C. § 206(a) prescribes a minimum wage that employers must pay to their

employees for each hour worked.

         53.   As described above, Defendants are employers within the meaning of the FLSA,

while Plaintiffs are employees within the meaning of the FLSA.



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       54.     As also described above, Defendants failed to compensate Plaintiffs at least at the

minimum hourly rate required by the FLSA for all hours worked.

       55.     Defendants willfully violated the FLSA.

       56.     At the least, Plaintiffs are entitled to pay at the minimum wage rate required by the

FLSA for all hours worked.

       57.     Plaintiffs are also entitled to liquidated damages and attorneys’ fees for Defendants’

violations of the FLSA’s minimum wage provisions.

                  THIRD CLAIM FOR RELIEF AGAINST DEFENDANTS
                   Unpaid Minimum Wages Under the NYLL and the NYCRR

       58.     Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

       59.     NYLL § 652 and 12 NYCRR § 142-2.1 prescribe a minimum wage that employers

must pay to their employees for each hour worked.

       60.     As described above, Defendants are employers within the meaning of the NYLL

and the NYCRR, while Plaintiffs, are employees within the meaning of the NYLL and the

NYCRR.

       61.     As also described above, Defendants failed to compensate Plaintiffs, at least at the

minimum hourly rate required by the NYLL and the NYCRR for all hours worked.

       62.     At the least, Plaintiffs, are entitled to pay at the minimum wage rate required by the

NYLL and the NYCRR for all hours worked.

       63.     Plaintiffs, are also entitled to liquidated damages, interest, and attorneys’ fees for

Defendants’ violations of the NYLL’s and the NYCRR’s minimum wage provisions.




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               FOURTH CLAIMS FOR RELIEFE AGAINST DEFENDANTS
                         Unpaid Overtime Under the FLSA

       64.     Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

       65.     29 U.S.C. § 207(a) requires employers to compensate their employees at a rate not

less than one and one-half times their regular rates of pay, or one and one-half times the minimum

wage rate, if greater, for all hours worked exceeding forty in a workweek.

       66.     As described above, Defendants are employers within the meaning of the FLSA,

while Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams, Nancy

Santos, and Evelyn Jaco are employees within the meaning of the FLSA.

       67.     As also described above, Plaintiffs Vieri Molina, Destiny Dominguez, Amada

Reynoso, Vanesa Williams, Nancy Santos, and Evelyn Jaco worked in excess of forty hours in a

workweek, yet Defendants failed to compensate them in accordance with the FLSA’s overtime

provisions.

       68.     Defendants willfully violated the FLSA.

       69.     Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams,

Nancy Santos, and Evelyn Jaco are entitled to overtime pay for all hours worked per week in excess

of forty at the rate of one and one-half times their respective regular rates of pay, or one and one-

half times the minimum wage rate, if greater.

       70.     Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams,

Nancy Santos, and Evelyn Jaco are also entitled to liquidated damages and attorneys’ fees for

Defendants’ violations of the FLSA’s overtime provisions.




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                  FIFTH CLAIM FOR RELIEF AGAINST DEFENDANTS
                      Unpaid Overtime Under the NYLL and the NYCRR

       71.     Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herei n.

       72.     NYLL § 160 and 12 NYCRR § 142-2.2 require employers to compensate their

employees at a rate not less than one and one-half times their regular rates of pay, or one and one-

half times the minimum wage rate, if greater, for all hours worked exceeding forty in a workweek.

       73.     As described above, Defendants are employers within the meaning of the NYLL

and the NYCRR, while Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa

Williams, Nancy Santos, and Evelyn Jaco, are employees within the meaning of the NYLL and

the NYCRR.

       74.     As also described above, Plaintiffs worked in excess of forty hours in a workweek,

yet Defendants failed to compensate them in accordance with the NYLL’s and the NYCRR’s

overtime provisions.

       75.     Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams,

Nancy Santos, and Evelyn Jaco are entitled to overtime pay for all hours worked per week in excess

of forty at the rate of one and one-half times their respective regular rates of pay, or one and one-

half times the minimum wage rate, if greater.

       76.     Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa Williams,

Nancy Santos, and Evelyn Jaco are also entitled to liquidated damages, interest, and attorneys’

fees for Defendants’ violations of the NYLL’s and the NYCRR’s overtime provisions.




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                  SIXTH CLAIM FOR RELIEF AGAINST DEFENDANTS
                  Failure to Accurate Wage Statements in Violation of the NYLL

       77.     Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

       78.     NYLL § 195(3) requires that employers furnish employees with a wage statement

containing accurate, specifically enumerated criteria on each occasion when the employer pays

wages to the employee.

       79.     As described above, Defendants are employers within the meaning of the NYLL,

while Plaintiff and any FLSA Plaintiff that opts-into this action, are employees within the meaning

of the NYLL.

       80.     As also described above, Defendants, on each payday, failed to furnish Plaintiffs

with any wage statements, let alone with wage statements that accurately contained the criteria

required under the NYLL.

       81.     On or after February 27, 2015, pursuant to NYLL § 198(1-d), Defendants are liable

to Plaintiffs in the amount of $250.00 for each workday after the violation occurred, up to a

statutory cap of $5,000.00.

               SEVENTH CLAIM FOR RELIEF AGAINST DEFENDANTS
         Failure to Furnish to Furnish Accurate Wage Notices in Violation of the NYLL

       82.     Plaintiff repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

       83.     NYLL § 195(1) requires that employers furnish employees with a wage notice

containing accurate, specifically enumerated criteria on upon hiring.

       84.     As described above, Defendants are employers within the meaning of the NYLL,

while Plaintiffs are employees within the meaning of the NYLL.



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       85.     As also described above, Defendants, upon hiring Plaintiffs, failed to furnish

Plaintiffs with any wage notices that accurately contained the criteria required under the NYLL.

                 EIGHTH CLAIM FOR RELIEF AGAINST DEFENDANTS
               Failure to Pay Wages on a Timely Manner in Violation of the FLSA


       86.     Plaintiff repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

       87.     Plaintiffs are entitled to liquidated damages for all wages that were paid late as

provided by the FLSA.

       88.     At all relevant times herein, Defendants refused to pay Plaintiffs on time and even

made Plaintiffs wait over a month for wages earned.

       89.     Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by their failure to compensate Plaintiffs lawful wages and overtime compensation, for

all hours worked, when Defendants knew or should have known such was due and that nonpayment

of such would financially injure Plaintiffs.

                  NINTH CLAIM FOR RELIEF AGAINST DEFENDANTS
               Failure to Pay Wages on a Timely Manner in Violation of the NYLL


       90.     Plaintiff repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as if more fully set forth herein.

       91.     Plaintiffs are entitled to liquidated damages for all wages that were paid late as

provided by the NYLL.

       92.     At all relevant times herein, Defendants refused to pay Plaintiffs on time and even

made Plaintiffs wait over a month for wages earned.



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          93.   Defendants knowingly and willfully disregarded the provisions of the NYLL as

evidenced by their failure to compensate Plaintiffs lawful wages and overtime compensation, for

all hours worked, when Defendants knew or should have known such was due and that nonpayment

of such would financially injure Plaintiffs

                                 DEMAND FOR A JURY TRIAL

          94.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff and FLSA Plaintiffs

demand a trial by jury on all claims in this action.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

          a.    A judgment declaring that the practices complained of herein are unlawful and in

willful violation of the aforementioned United States and New York State laws;

          b.    Preliminary and permanent injunctions against Defendants and their officers,

owners, agents, successors, employees, representatives, and any and all persons acting in concert

with them, from engaging in each of the unlawful practices, policies, customs, and usages set forth

herein;

          c.    An order restraining Defendants from any retaliation against Plaintiffs for

participation in any form in this litigation;

          d.    Awarding all damages that Plaintiffs have sustained as a result of Defendants’

conduct, including all unpaid wages and any short fall between wages paid and those due under

the law that Plaintiffs would have received but for Defendants’ unlawful payment practices;

          e.    Granting liquidated damages and any other statutory penalties as recoverable under

the FLSA and the NYLL;


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          f.    Awarding Plaintiffs their reasonable attorneys’ fees, as well as their costs and

disbursements incurred in connection with this action, including expert witness fees and any other

costs, and an award of a service payment to Plaintiff;

          g.    Pre-judgment and post-judgment interest, as provided by law; and

          h.    Granting Plaintiffs such other and further relief as this Court finds necessary and

proper.

Dated: Garden City, New York
       July 29, 2022

                                              Respectfully submitted,

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                                      By:     ___________________________________
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